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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Criminal Action No. 1:23-cr-00301-NYW

UNITED STATES OF AMERICA,

       Plaintiff,

v.

EDWARD MARTIN JONES, a.k.a. Edward Brown,

       Defendant.

______________________________________________________________________________

                            ORDER OF DETENTION
______________________________________________________________________________

       THIS MATTER came before this court for a detention hearing on October 5, 2023. The

government requested detention in this case. The defendant contested the request for detention.

Both sides presented argument. In making its findings of fact, the court has taken judicial notice

of the information set forth in the court docket of proceedings and the Pretrial Services Report.

       In order to sustain a motion for detention, the government must establish that there is no

condition or combination of conditions which could be imposed in connection with pretrial

release that would reasonably assure (a) the appearance of the defendant as required or (b) the

safety of any other person or the community. 18 U.S.C. ' 3142(b). The former element must be

established by a preponderance of the evidence, and the latter requires proof by clear and

convincing evidence.

       The Bail Reform Act establishes the following factors to be considered in determining

whether there are conditions of release that will reasonably assure the appearance of the

defendant and the safety of the community:
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               (1)    The nature and circumstances of the offense charged, including
               whether the offense is a crime of violence, a violation of section 1591, a
               Federal crime of terrorism, or involves a minor victim or a controlled
               substance, firearm, explosive, or destructive device;

               (2)     the weight of the evidence against the person;

               (3)     the history and characteristics of the person includingB

                       (A)     the person’s character, physical and mental condition, family
                       ties, employment, financial resources, length of residence in the
                       community, community ties, past conduct, history relating to drug
                       and alcohol abuse, criminal history, and record concerning
                       appearance at court proceedings; and

                       (B)    whether at the time of the current offense or arrest, the
                       person was on probation, on parole, or on other release pending trial,
                       sentencing, appeal, or completion of sentence for an offense under
                       Federal, State, or local law; and

               (4)  the nature and seriousness of the danger to any person or the
               community that would be posed by the person’s release.

18 U.S.C. ' 3142(g).

       Weighing the factors set out in the Bail Reform Act, the court finds the following: The

defendant is charged with one count of possession of a firearm by a prohibited person, in

violation of 18 U.S.C. § 922(g)(1), and one count of possession of a stolen firearm, in violation

of 18 U.S.C. § 922(j). The alleged conduct on which the charges in this court are based led to the

defendant’s conviction on attempted murder and two related charges in Denver County District

Court. The defendant’s state convictions were overturned, and the charges dismissed with

prejudice, following a ruling by a Division of the Colorado Court of Appeals that the defendant’s

speedy trial rights had been violated.

       Nevertheless, this court must consider “the nature and circumstances of the offense

charged”—not the final disposition of related charges on procedural grounds in a state
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proceeding —in carrying out its duty to assess the factors under the Bail Reform Act. In this

regard, the government proffered evidence indicating that, on or about July 23, 2018, video

surveillance footage from a mortuary near downtown Denver showed the defendant entering an

unlocked vehicle and taking a bag from the vehicle. The owner of that vehicle reported that a

distinctive pink Ruger handgun, which had been located in the vehicle, was missing. The

government further proffered that, approximately two weeks later, on or about August 18, 2018,

a High Activity Location Observation (“HALO”) camera captured the defendant shooting at

close range an apparently unsuspecting individual who was walking eastbound on East Colfax

Avenue near downtown Denver. The firearm used in the shooting was identified as the

distinctive pink gun that, according to the proffer, the defendant had stolen from the parked car

several weeks before. The victim was shot twice, including a shot to the face that shattered his

jaw. The victim survived, but suffered life-altering injuries. This court takes into account the

extremely violent nature of the defendant’s alleged actions, which resulted in grave and lifelong

harm to a seemingly random victim, in finding that the defendant may pose a threat to the safety

of other persons in the community. 1

       In assessing the weight of the evidence against the defendant, the court further considers

the asserted identification of the defendant in the two videos (first, in the video showing him

removing a bag from the vehicle parked near the mortuary, and second, in the video capturing

the shooting); the purported identification of the defendant by persons near the scene of the

shooting; and the evidence indicating that the stolen pink gun from the car near the mortuary was



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 Counsel for the government stated at the detention hearing that the government is unaware of a
motive for the shooting at this time.
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the weapon used in the subsequent shooting on East Colfax Avenue. The court additionally takes

into account the government’s proffer that, at the scene of the shooting, the defendant was

carrying a backpack containing a syringe filled with methamphetamine. The defendant has

admitted other prior illegal drug use in the past, approximately ten years ago. Information

presented at the detention hearing also showed that the defendant has a lengthy criminal history,

which includes several parole revocations.

       Accordingly, based on the foregoing, the court respectfully finds that the government has

met its burden to establish by clear and convincing evidence that there is no condition or

combination of conditions that it can impose to assure the safety of any other person or the

community. Accordingly,

       IT IS HEREBY ORDERED that the defendant is committed to the custody of the

Attorney General or his designated representative for confinement in a corrections facility

separate, to the extent practicable, from persons awaiting or serving sentences or being held in

custody pending appeal; and

       IT IS FURTHER ORDERED that the defendant is to be afforded a reasonable opportunity

to consult confidentially with defense counsel; and

       IT IS FURTHER ORDERED that upon order of this Court or on request of an attorney

for the United States of America, the person in charge of the corrections facility shall deliver

defendant to the United States Marshal for the purpose of an appearance in connection with this

proceeding.




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DATED: October 5, 2023                    BY THE COURT:



                                          ______________
                                          Susan Prose
                                          United States Magistrate Judge




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